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Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 1 of 31

Adamina McKenzie
Elliott McKenzie
118 Minner Avenue, #5504

Telephone: N/A
Email: adaminamckenzie@yahoo.com

Email: elliottmckenzie@ymail.com

IN PRO PER

FILED

NOV 17 2023,

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

ADAMINA MCKENZIE; ELLIOTT
MCKENZIE

~ Plaintiffs,
Vv.

SOCTAT, SECTIRITY
ANMINISTRATION; a Public
Entity; and DOES 1-10 inclusive

Defendants

Case No.: (.23-Cv-olWZ0 -cpb

PLAINTIFF’S COMPLAINT FOR:

1. TITLE II of the AMERICANS
WITH DISABILITIES ACT
(the "ADA"), 42 U.S.C. § 12132

2. TITLE III of the AMERICANS
WITH DISABILITIES ACT
(the "ADA"), 42 U.S.C. § 12181

3. RETALIATION CLAIM
UNDER TITLE IV

[DEMAND FOR JURY TRIAL]

Plaintiffs ADAMINA MCKENZIE (herein after “PLAINTIFF”; “MRS.
MCKENZIE) and ELLIOTT MCKENZIZE (herein after “PLAINTIFF”, “MR.

-1-

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 2 of 31

MCKENZIE) hereby files this complaint against SOCIAL SECURITY
ADMINISTRATION; a Public Entity; and DOES 1-10 inclusive collectively for

damages and alleges as follows:

JURISDICTION AND VENUE

. This Court has subject matter jurisdiction over these federal claims by

operation of 28 U.S.C. §§ 1331 and 134.

. This Court has authority to issue the demanded relief to recover damages under

28 U.S.C. § 1343.

. Plaintiff ADAMINA MCKENZIE is an individual residing in the County of

Kern County, State of California.

. Plaintiff ELLIOTT MCKENZIE is an individual residing in the County of

Kern County, State of California.

. Defendant SOCIAL SECURITY ADMINISTRATION is a Public Entity and

licensed to do business in the State of California and was/is doing business in

California including Kern County.

. On June 28, 2022, Plaintiff Adamina McKenzie exhausted her administrative

remedy by filing a claim form with the Social Security Administration Office
of General Counsel. Mrs. McKenzie received a denial of said claim on October
14, 2022 (A true and correct copy along with USPS delivery confirmation
is attached herein as “EXHIBIT A”). On April 14, 2023, Plaintiff Adamina
McKenzie filed her initial complaint for damages and on August 4, 2023 said

complaint was dismissed without prejudice for lack of jurisdiction.

. On February 6, 2023, Plaintiff Elliott McKenzie exhausted his administrative

remedy by filing a claim form with the Social Security Administration Office
of General Counsel. Mr. McKenzie received a denial of said claim on May 9,
2023 by Social Security Administration Office of General Counsel. Mr.

McKenzie received said rejection on May 17, 2023 (A true and correct copy

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VERIFIED COMPLAINT FOR DAMAGES

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Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 3 of 31

of the rejection along with USPS delivery confirmation is attached herein

as “EXHIBIT B”).

8. Venue is proper in the U.S. District Court of California Eastern Division of

Kern County, as this Court has personal jurisdiction pursuant to 28 U.S. Code
§ 1391; because both Plaintiffs reside in Kern County.
PARTIES

. Plaintiff ADAMINA MCKENZIE is an individual over the age of eighteen

(18) and/or at all times mentioned in this Complaint is a resident of the state of

California who resides in Kern County.

10.Plaintiff ELLIOTT MCKENZIE is an individual over the age of eighteen (18)

and/or at all times mentioned in this Complaint is a resident of the state of

California who resides in Kern County.

11.Defendant SOCIAL SECURITY ADMINISTRATION claims to administer

retirement, disability, survivor, family benefits, and enroll individuals in
Medicare. Said government agency also provides Social Security Numbers,
which are unique identifiers needed to work, handle financial transactions, and
determine eligibility for certain government services. Plaintiff is ignorant of the
true name and capacity of defendants sued herein as Does 1-10, inclusive, and
therefore sues these defendants by such fictitious names. Plaintiff will amend
this complaint to allege defendant’s true name and capacity when ascertained.
Plaintiff is informed and believes and thereon alleges that the fictitiously
named defendants are responsible in some manner for the occurrences herein
alleged, and that Plaintiff's injuries as herein alleged were proximately caused
by the aforementioned defendants.

Sovereign Immunity Waiver

12.Sovereign immunity refers to a government’s immunity from being sued by its

citizens in its own courts without its consent. It can trace its roots as far back

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VERIFIED COMPLAINT FOR DAMAGES

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Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 4 of 31

into the English common law as the 13th Century. Underlying sovereign
immunity is the concept that “the king can do no wrong,” because his word
was the law. The American legal system is predicated on an entire body of
laws not found in any books ~ English Common Law. Sovereign immunity
found its way into American law books via the common law. Long before the
Federal Tort Claims Acts was passed in 1946, the only way to sue the federal
or state government was to get its consent, something rarely given. For many
years after the ratification of the U.S. Constitution there were no exceptions to
the immunity of the federal government. The U.S. Constitution declared that
“No Money shall be drawn from the Treasury, but in Consequence of
Appropriations made by Law.” U.S. Const. Art. I, § 9. The only way to sue the
federal government was by private bill. Congress could then pass that special
bill and the action could proceed in court. Congress attempted to pass on this
claims processing work to the courts, but the U.S. Supreme Court declared that
this violated the separation of powers. Hayburns Case, 2 U.S. 409 (1792). As
the federal government grew uncontrollably, the sheer number of claims made
this process unworkable. The process was changed in 1855, when the Court of

Claims was established.

13.For many years, the Court of Claims had the power to issue only advisory

opinions and would only investigate claims against the federal government and
recommend action. This made the Court of Claims an Article I court with the
protection afforded the judges of an Article III court. In 1861, President
Abraham Lincoln proposed giving the court the power to render final
judgments and in 1863 Congress gave the court the ability to render final
judgments and gave the U.S. Supreme Court jurisdiction to review Court of
Claims judgments. In 1887, the Tucker Act was passed. It allowed citizens to
sue the federal government for claims based on the U.S. Constitution and gave

federal circuit courts concurrent jurisdiction with the Court of Claims for
4

VERIFIED COMPLAINT FOR DAMAGES

, Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 5 of 31

amounts up to $10,000. Also, in 1887, the Little Tucker Act was passed, giving
federal district courts original jurisdiction, concurrent with the Court of Claims
over any civil action against the U.S. 28 U.S.C. § 1346(a)(2).

14.In 1911, Congress transferred this jurisdiction to the federal district courts. In
1992, the Court of Claims was renamed the Court of Federal Claims and
consisted of sixteen judges appointed for terms of fifteen years. Appeals from
the Court of Federal Claims are heard by the U.S. Court of Appeals for the
Federal Circuit. It hears only (1) Fifth Amendment takings claims, (2) claims
for tax refunds, and (3) suits against the government based on contract
disputes. 28 U.S.C. § 1491. It does not have jurisdiction to hear tort claims
against the U.S. because those claims must be brought under the Federal Tort
Claims Act.

15. The Federal Tort Claims Act (FTCA) is a limited waiver of the sovereign
immunity of the U.S. It was passed in 1946 in order to make the federal
government liable for certain torts and actions of its employees in the same
way a private individual might be liable, although with many exceptions. Title
IV, 60 Stat. 812, “28 U.S.C. Pt. VI Ch. 171”, 28 U.S.C. §§ 1346(b), 2671-
2680. It allows recovery “for injury or loss of property, or personal injury or
death caused by the negligent or wrongful act or omission of any employee of
the Government while acting within the scope of his office or employment,
under circumstances where the United States, if a private person, would be
liable to the claimant in accordance with the law of the place where the act or
omission occurred.” As mentioned above, the federal district courts have
exclusive jurisdiction over FTCA actions.

16.Government Code - GOV § 815.2(a) A public entity is liable for injury
proximately caused by an act or omission of an employee of the public entity

within the scope of his employment if the act or omission would, apart from

-5-

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 6 of 31

this section, have given rise to a cause of action against that employee or his

personal representative.

17.A number of statutory provisions granting consent to suit against public

agencies do so in such broad and comprehensive terms as to suggest a
legislative intent not only to consent to suit, but also to waive immunity from
liability. Typical language of this sort was involved in the Muskopf case, where
Mr. Justice Traynor quoted the applicable provisions of the Local Hospital
District Act, 35 authorizing hospital districts to "sue and be sued in all courts
and places and in all actions and proceedings whatever." Consistent with
holdings in previous cases, however, this unequivocal declaration was held to
be "similar" to a simple "sue and be sued" provision and hence to merely
constitute "a waiver [of immunity] from suit and not a waiver of substantive
immunity. Further, Government Code Section 23004, states that: A county may
(a) Sue and be sued. Section 945.2, states: A public entity may sue and be sued.
Thus, the Sovereign Immunity Waiver grants this court jurisdiction as the
Social Security Administration is a governmental public entity that may sue

and be sued.

INTRODUCTION

. Plaintiff Mrs. McKenzie applied for Social Security benefits because of her

disability/medical condition and was presumed scheduled for an
Administrative Hearing on May 25, 2022 at 9:15 am, with the person known as
“Troy Silva” (Hereinafter “Mr. Silva”). The reason why Plaintiff indicates
“presumed” is because “Silva” failed to send Plaintiff an official notice of said

hearing.

. Likewise, on October 5, 2022 Mrs. McKenzie was scheduled for an

Administrative Hearing and demanded an “ADA” accommodation to appear in

person without a mask or face covering as to her medical exemption in

-6-

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 7 of 31

accordance with “CDC Guidelines” and the alleged “Executive Order” for
herself and Mr. McKenzie. The demand for an “ADA” accommodation was
demanded several months prior to Mrs. McKenzie’s hearing. To Mr. and Mrs.
McKenzie’s surprise, they were both denied their lawful right to enter the
Social Security Hearing Suite once again by the Security Officer known as “F.
Garcia” (Herein after “Mr. Garcia”). Mr. McKenzie informed “Mr. Garcia”
that a demand for an accommodation to Social Security Administration Civil
Rights Unit was received according to USPS certified mail several months
prior to Mrs. McKenzie’s hearing. “Mr. Garcia” emphasized that the Chief
Administrative Law Judge known as “Mr. Silva” informed him not to allow

Plaintiffs to enter without a mask.

3. Furthermore, Plaintiffs were denied their lawful right to appear at Mrs.

McKenzie’s benefits determination hearing in person for not having the ability
to wear a mask; because of their disability/medical conditions. Thus, being
discriminated against and denied equal access and services due to their
inability to comply with the purported “Executive Order” which served as the
basis for the Social Security Administration’s Mask Requirement.

PLAINTIFF’S PRIOR MEDICAL CONDITION

4. Plaintiff's disabilities arose out of the same occurrence and according to their

Primary Care Physician they both have Severe Intractable Post Traumatic
Stress Syndrome, which they were diagnosed with in 2017. Plaintiff's
disability prevented them from wearing a mask because it obstructs their
breathing. Moreover, the Social Security Administration Psychologist during
Mrs. McKenzie’s evaluation in 2018 acknowledged that her condition was
“Beyond PTSD”. As a direct result of the violent acts that Mrs. McKenzie
experienced at work. Plaintiffs both suffer from severe anxiety and severe

emotional distress.

-7-

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 8 of 31

5. Plaintiff's Primary Care Physician exhausted all treatment options available
for their medical condition after all therapy treatments failed and was advised
that their final treatment options were to maintain proper breathing exercises
for their health and wellness to help prevent headaches, anxiety attacks, and
emotional distress — hence the reasons why wearing a mask for Plaintiffs were
not an option.

FACTUAL ALLEGATIONS
6. On or around February 9, 2022, Mrs. McKenzie received an unofficial

correspondence presumably from the person known as “Troy Silva” that was
absent of a signature. Said correspondence included pertinent information to
Mrs. McKenzie in order for her to prepare for her hearing. The alleged
correspondence included: the date, time, location of her hearing along with her
rights and responsibilities.

7. On or around February 22, 2022, Mrs. McKenzie sent a certified letter to the
person known as “Troy Silva” to advise him that she received a
correspondence dated February 9, 2022 that was missing a signature. Mrs.
McKenzie informed “Mr. Silva” that she was notifying him that the law does
not allow her to accept and comply with unofficial correspondences and she
will not accept said notice as a valid correspondence. Mrs. McKenzie

- demanded an official correspondence to be sent to her regarding her hearing
scheduled for May 25, 2022 along with her rights and responsibilities.

8. On or around February 25, 2022, according to USPS tracking the certified
correspondence that was sent to “Mr. Silva” from Mrs. McKenzie was received
on February 25, 2022.

9, On or around March 28, 2022, Mrs. McKenzie was forced to lodge a complaint
for unfair treatment against “Mr. Silva” with the Social Security Office of
Hearings Operations, Division of Quality Service. Mrs. McKenzie’s complaint

was based upon “Mr. Silva’s” refusal to send her an official correspondence
-8-

VERIFIED COMPLAINT FOR DAMAGES

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Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 9 of 31

with a signature. Plaintiff's complaint also emphasized her demand for “Mr.
Silva” to send her an official correspondence with a valid signature to qualify
the validity of said correspondence. Additionally, Plaintiff expressed her
concern that she allowed 30 days to elapse and had yet to hear back from “Mr.
Silva”. Plaintiff's concern also surrounded the fact that she had been waiting
over 3 years for her hearing and didn’t want to be prejudiced from attending
based upon an invalid notice.

10.On or around May 10, 2022, Mrs. McKenzie received a correspondence from
the person known as “David Graham” (Herein after “Mr. Graham”) (Social
Security Branch Chief, Division of Quality Service Office of Executive
Operations and Human Resources) acknowledging receipt of her letter dated
March 28, 2022. Mr. Graham indicated that Social Security Administrative
hold their “ALJ” (Administrative law Judges) to the highest accountability
standards and expect them to act in a professional unbiased manner at all times.
Plaintiffs complaint was forwarded for further review by Mr. Graham, and to
date, Mrs. McKenzie has yet receive a follow up response.

11.On or around May 15, 2022, the person known as “Cindy Emershy” (Hearing
Director) sent Mrs. McKenzie a correspondence alleging that the letter she
received from “Mr. Silva” dated February 9, 2022 was in fact an official
correspondence, which it was not.

12.On May 25, 2022, at approximately 9:10 am, Plaintiffs arrived at Mrs.
McKenzie’s Administrative Hearing. Upon arrival the Security Officer
working on behalf of Paragon Systems known as “F. Garcia” (Herein after
“Mr. Garcia”) Badge#0664 greeted them at the door. “Mr. Garcia” asked
Plaintiff's if they were there for a hearing and if he may see their identification.
Plaintiff's showed their Driver’s License to “Mr. Garcia”, thereafter they were
asked if they had a mask. Plaintiffs informed “Mr. Garcia” that they did not

have a mask and respectfully declined to his offerings for wearing one. “Mr.
-9-

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 10 of 31

Garcia” informed Plaintiffs that in order to enter the Social Security Hearing
Suite they are required to wear a mask as per the alleged “Executive order”.
Plaintiffs informed “Mr. Garcia” that they were unable to wear a mask;
because of their disability/medical conditions preventing them from doing so.
Plaintiffs further inquired if whether or not Social Security honors medical
exemptions. “Mr. Garcia” informed Plaintiffs husband that medical exemptions
are not honored and regardless of his and his wife’s medical condition, a mask

is required in order to enter the Social Security Hearing Suite.

13.To their surprise as they attempted to enter the Social Security Hearing Suite

“Mr. Garcia” put his arm up and blocked them from entering. “Mr. Garcia”
informed Plaintiffs of an alleged “Executive Order” that requires individuals
who enter the Social Security Hearing Suite to wear a mask. Plaintiffs objected
to wearing a mask because of their disability/medical conditions and asked
“Mr. Garcia” if he could qualify his claim and provide evidence of the alleged
“Executive Order”. “Mr. Garcia” indicated that he was not in possession of the
“Executive Order” and only has a sign stating “Masks Required per Executive
Order”. Mr. McKenzie asked “Mr. Garcia” if he could qualify his claim
regarding the law requiring them to wear a mask. “Mr. Garcia” informed him
that he was not able to validate his claim. In fact “Mr. Garcia” went on to say
to Mr. McKenzie that he agrees with him regarding a face mask not being
required, but that he has to do his job. Mr. McKenzie informed “Mr. Garcia”
that he may be liable not only for disability discrimination, but also because he
is interfering with his wife’s prospective economic advantage, and that his wife
has been waiting over 3 years to receive her benefits. “Mr. Garcia” indicated
that he understands, but he is just doing his job by allegedly following the

person known as “Mr. Silva’s” directive.

14.Plaintiffs were shocked and distraught that they were being refused their lawful

right to attend the hearing in person for not having the ability to wear a mask,
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VERIFIED COMPLAINT FOR DAMAGES

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Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 11 of 31

due to their disability/medical conditions. Plaintiffs asked if they could speak
with “Cindy Emershy” (Social Security Hearing Director). “Mr. Garcia”
informed Plaintiffs that she was not available to speak. Plaintiffs inquired about
the Social Security Administration’s policies regarding them being required to
wear a mask. “Mr. Garcia” indicated he would have someone come out to

speak with them.

15.The person known as “Mark Yasutomi” (Herein after “Mr. Yasutomi”) (Social

Security Supervising Attorney) approached the door and informed Plaintiffs
that he is the Supervising Attorney and further indicated that he was also
denying them entry into the Social Security Hearing Suite without wearing a
mask. “Mr. Yasutomi’s” basis for his denial was because of the alleged
“Executive Order” along with the Social Security Administration policies that
are in accordance with said “Order”. Mr. McKenzie asked “Mr. Yasutomi” if
he was able to qualify his claim regarding the alleged “Executive Order” by
providing him with the “Executive Order” in writing. “Mr. Yasutomi”
informed Plaintiffs that all the Social Security Administration has is the notice.
Plaintiffs then asked “Mr. Yasutomi” and “Mr. Garcia” if they were aware that
they were violating their rights. “Mr. Yasutomi” and “Mr. Garcia” agreed with
Plaintiffs position that they were in fact violating their rights, yet continued to
refuse them access to enter the Social Security Administration Hearing Suite.
“Mr. Yasutomi” stressed to Plaintiffs that he is following the directives of “Mr.
Silva” and that there is nothing they could do, but file a complaint. Mr.
McKenzie emphasized to “Mr. Yasutomi” and “Mr. Garcia” that they were
interfering with his wife’s prospective economic advantage, by denying her

access to an in person hearing along with a reasonable accommodation.

16.Additionally, Plaintiffs husband asked “Mr. Garcia” and “Mr. Yasutomi” if

they were aware of the alleged “Executive Order” being a “guideline” and does

not require individuals interacting with federal employees to wear a mask.
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VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document.1 Filed 11/17/23 Page 12 of 31

They both responded that they were aware, but Plaintiffs continued to be
denied entry without a mask. Mr. and Mrs. McKenzie were shocked that their
rights to an in person hearing were being wrongfully and unlawfully denied. It
was evident that “Mr. Garcia” and “Mr. Yasutomi” were acting fraudulently
with malice and oppression towards Plaintiffs.

17.The alleged “Executive Order” for protecting the federal workforce states the

following:

Executive Order on Protecting the Federal Workforce and Requiring Mask-Wearing

Section 1. Policy. It is the policy of my Administration to halt the spread of coronavirus disease 2019 (COVID-19) by
relying on the best available data and science-based public health measures. Such measures include wearing masks
when around others, physical distancing, and other related precautions recommended by the Centers for Disease
Control and Prevention (CDC). Put simply, masks and other public health measures reduce the spread of the disease,
particularly when communities make widespread use of such measures, and thus save lives.

Accordingly, to protect the Federal workforce and individuals interacting with the Federal workforce, and to ensure the
continuity of Government services and activities, on-duty or on-site Federal employees, on-site F ederal contractors, and
other individuals in Federal buildings and on Federal lands should all wear masks, maintain physical distance, and
adhere to other public health measures, as provided in CDC guidelines.

Sec. 2. Immediate Action Regarding Federal Employees, Contractors, Buildings, and Lands. (a) The heads of
executive departments and agencies (agencies) shall immediately take action, as appropriate and consistent with
applicable law, to require compliance with CDC guidelines with respect to wearing masks, maintaining physical

distance, and other public health measures by: on-duty or on-site Federal employees; on-site Federal contractors; and
all persons in Federal buildings or on Federal lands.

18. The alleged “Executive Order” is clear when it states that it is recommended
by “CDC” to wear a mask. Further the “Executive Order” continues on to state
that for individuals interacting with the federal workforce — “should all wear a
mask”. Plaintiffs were threatened with the cancellation of her hearing for not
having the ability to wear a mask. Based on the blatant disregard of Plaintiff's
rights to an in person hearing, and the fact that Mrs. McKenzie filed a written
complaint against “Mr. Silva’s” fraudulent business practices. It is safe to
assume that “Mr. Garcia” and “Mr. Yasutomi” were unlawfully acting on “Mr.
Silva’s” behalf solely for the purposes of discrimination and retaliation. Both

“Mr. Garcia” and “Mr. Yasutomi” emphasized the fact that “Mr. Silva” was

-12-

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 13 of 31

giving them the directives to deny Mr. and Mrs. McKenzie entry to her

hearing.

19.Plaintiffs also inquired with “Mr. Garcia” and “Mr. Yasutomi” whether the

Social Security Administration were following the “recommendations” of the
“Center for Disease Control and Prevention” (Herein after “CDC”), which
states, “CDC recommends that people wear masks in public settings and when
around people who don’t live in your household, especially when other social
distancing measures are difficult to maintain”. Further Plaintiffs asked “Mr.
Garcia” and “Mr. Yasutomi” if they were aware of the exemption verbiage
contained within the “CDC Guidelines”. “Mr. Garcia” and “Mr. Yasutomi”
emphasized that regardless of the “CDC Guidelines”, they are being directed

by “Mr. Silva” to deny Plaintiffs entry without a mask.
CENTER FOR DISEASE CONTROL and PREVENTION CONSIDERATIONS

The “Health and Human Agency, California Department of Public Health” revised its guidelines to include
exemptions for mask and face coverings and states the following persons are exempt:
Persons with a medical condition, mental health condition, or disability that prevents wearing a face covering.

This includes persons with a medical condition for whom wearing a face covering could obstruct breathing or
who are unconscious, incapacitated, or otherwise unable to remove a face covering without assistance.
Furthermore, according to covid19.ca.gov individuals who should not wear a mask includes:

Children under 2 years old.

Anyone with respiratory issues where it would impede their breathing.

Anyone unable to remove the mask without help.

Anyone with a medical condition, mental health condition, or disability that does not allow
them to wear a mask.

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20.In addition, Mr. McKenzie’s expertise in forensics centralized in the area of

“! Auricular Anthropometry” has proven that the alleged President of the

1 Federal agencies like the F.B.I. and the I.N.S. use biometrics daily to identify the individuals they investigate.
Fingerprints are the most common form they use, however due to advances in technology there are a full range of
different identifying features that have been uncovered, which everyone has and are unique to themselves. The L.N.S. in
particular, utilizes the ear as a useful tool to identify individuals.

The reason why they use this body part, is because they can identify individuals from a distance without the individuals

consent to do so. When you study the human ear, you’!] notice the ear does not change until you hit the age of around

60. At that point the cartilage will breakdown and you will see signs of aging. There are external factors that also must

be taken into consideration especially when you are looking at twins. The health of the individual will cause the skin
-13-

VERIFIED COMPLAINT FOR DAMAGES

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Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 14 of 31

United States known as “Joe Biden” has been positively identified as the
deceased Hollywood actor/persona known as “David Carradine” thus making
his alleged “Executive Order” for wearing a mask and face coverings
fraudulent, treasonous, null and void.

21.On May 31, 2022, the person known as “Mr. Yasutomi” sent Mrs. McKenzie a
correspondence indicating that her hearing scheduled for May 25, 2022 at 9:15
am was postponed because of Plaintiffs alleged refusal to wear a mask. “Mr.
Yasutomi” further indicated that the Social Security Administration requires
anyone aged two or older entering the agency’s offices to wear a face mask
compliant with Centers for Disease Control and Prevention (Herein after
“CDC”). “Mr. Yasutomi’s” inattentive correspondence to Mrs. McKenzie
failed to include the exemptions specified on CDC’s website, which include
medical conditions/disabilities.

22.“Mr. Yasutomi’s” correspondence clearly states that visitor procedures notice
informs claimants that they “must wear a face mask throughout their visit”.
Additionally, “Mr. Yasutomi” indicated that because of Plaintiffs alleged
refusal to wear a face mask that he finds that it is necessary to require her to
appear by telephone, because of extraordinary circumstances, which also
prevents her from appearing by traditional video teleconference or in person.
Pursuant to Code of Federal Regulations 404.936(c) (2) states: (c)
“Determining manner of hearing to schedule. We will generally schedule you

or any other party to the hearing to appear either by video teleconferencing or

texture to differ, which is why even with twins you will not find the same ear. THEY WILL SHOW THE SAME
TRAITS but there will be other physical aspects of that ear that will change over time.

To learn more about these technologies you can always visit www.icee.org to see the thousands upon thousands of peer
reviewed papers that have been written over the past decade on different technologies which include EAR
BIOMETRICS, which is what Plaintiff uses in his investigations. The Biometrics used, essentially map out the ear via
2D photographs, and the 9 landmarks that exist in that ear that are unchanging throughout your life. Tf/When the data is
available, a combination of tests are used that include handwriting analysis, vein pattern on the back of the hand, teeth,
palm, and of course facial landmarks.

-14-

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 15 of 31

in person. Subject to paragraph (c) (3) which states: If you are incarcerated
and video teleconferencing is not available, we will schedule your appearance
by telephone, unless we find that there are facts in your particular case that
provide a good reason to schedule your appearance in person, if allowed by the
place of confinement, or by video teleconferencing or in person upon your
release”. Furthermore, Code of Federal Regulations 404.936 (a) states: “We
set the time and place for any hearing. We may change the time and place if it
is necessary. After sending you reasonable notice of the proposed action, the
Administrative Law Judge may adjourn, or postpone the hearing or reopen it to
receive additional evidence anytime before he or she notifies you of a hearing

decision”.

23.Mr. Yasutomi’s correspondence to Mrs. McKenzie where he sites Code of

Federal Regulations as indicated above clearly does not apply to Plaintiffs and
their circumstances. Based upon the facts Mr. Yasutomi’s postponement and
denial of services was solely for purposes of discrimination, harassment, and
retaliation. Plaintiffs are not incarcerated and according to the CDC and the
alleged “Executive Order” good cause did not exist for postponement. The
Social Security Administration’s “Mask Requirement” policy is baseless,

nonsensical, & without standing.

24.Moreover, Plaintiffs trusted that management would recognize their intentional

violations of the “ADA” Title II, 42 U.S.C. §12132, which applies to the public
sector and states essentially that no qualified individual with a disability shall,
by reason of such disability, be excluded from participation in or be denied the
benefits of the services, programs, or activities of a public entity, or be
subjected to discrimination by any such entity. The ADA defines “public
entity” in pertinent part as “any State or local government” or “any department,
agency, special purpose district, or other instrumentality of a State or States or

local government.” 42 U.S.C. § 12131(a) (A)-(B). The Social Security
-15-

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 16 of 31

Administration is a public entity and local government agency. Title III of the
Americans with Disabilities Act (the "ADA"), 42 U.S.C. § 12181, et seq.,
prohibits discrimination against individuals “on the basis of disability in the
full and equal enjoyment of the goods, services, facilities, privileges,
advantages, or accommodations of any place of public accommodation by any
person who owns, leases (or leases to), or operates a place of public
accommodation." 42 U.S.C. § 12182(a). Plaintiffs hoped that the
aforementioned individuals would acknowledge their blatant disregard of the
verbiage contained within the alleged “state mandate” and CDC website which
both make reference to persons who are exempt from wearing a mask.

25.According to the Social Security’s Administration website, it claims that
“Social Security Administration is committed to ensuring that everyone has the
opportunity to access its programs, activities, and facilities, regardless of
disability, in accordance with Section 504 of the Rehabilitation Act of 1973
and Section 504's relevant implementing regulations, 45 C.F.R. Part 85 (Part
85). Section 504 prohibits Federal agencies and programs that receive Federal
funding from discriminating against qualified individuals with disabilities. Part
85 specifies the actions it must take to ensure Social Security Administration
do not discriminate against individuals with disabilities”.

26. The above statement evinces that the Social Security Administration
accommodates individuals with disabilities, but refused to accommodate Mr.
and Mrs. McKenzie due to their disability for the purposes of discrimination,
harassment, and retaliation. The refusal of service based upon an alleged
“executive order” that explicitly references those who are exempt.

FIRST CAUSE OF ACTION
(Title II of the Americans with Disabilities Act 42 U.S.C. § 12132)

27. Plaintiffs incorporate the allegations contained in the foregoing paragraphs as

though fully set forth herein in their entirety.
-16-

VERIFIED COMPLAINT FOR DAMAGES

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Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 17 of 31

28.As previously indicated Plaintiffs were diagnosed with severe intractable Post

Traumatic Stress Syndrome (“PTSD”) that prevents them from wearing a
mask, because it obstructs their breathing and creates further severe anxiety
that worsens their disability. Additionally, Title II, 42 U.S.C. § 12132, applies
to the public sector and states essentially that no qualified individual with a
disability shall, by reason of such disability, be excluded from participation in
or be denied the benefits of the services, programs, or activities of a public

entity, or be subjected to discrimination by any such entity.

29 Plaintiffs are qualified individuals with a disability as defined in 42 U.S.C. §

12102(2), and was recklessly excluded and denied from participation of Mrs.
McKenzie’s Disability Determination Hearing on several occasions as
previously mentioned in the complaint; such exclusion and discrimination was
by reason of Plaintiff's inability to wear a mask because of their disability,
which prevents them from doing so. Lovell v. Chandler, 303 F.3d 1039, 1052
(9 Cir. 2002).

30.Additionally, a public entity may be sued for negligence if a law imposes a

particular duty upon a government entity or agency, and that entity or agency
fails to fulfill that legal duty, the government can be held liable for injuries
caused as a result under the California Tort Claims Act.The entity responsible in
a California Tort Claims Act claim is generally the government entity or agency
responsible for the employee, property, or carrying out a duty. The CTCA applies
to state, county, and local government agencies and departments, including city or
municipality agencies. A government entity or agency is responsible for

any negligent acts committed by its employees, if: the employee was acting within
the scope of their employment; or the employee was carrying out some

government function.

31.As previously indicated herein in the complaint the law imposes a duty to the

Social Security Administration and its employees acting on its behalf to
-17-

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 18 of 31

provide “ADA” accommodations. Defendant employees known as “Troy
Silva”; “Mark Yasutomi”; along with its Security Contractor “F. Garcia” were
all acting within the scope of their employment on behalf of the Social Security
Administration and intentionally failed to fulfill its legal duty. The legal duty
that Defendant and its employees failed to fulfill were to properly
accommodate Plaintiff’s “ADA” as to their disability in alignment with “CDC
Guidelines” and the alleged “Executive Order” exemptions from mask
wearing.

32.As a result of said negligence Plaintiffs were maliciously denied full and equal
enjoyment of the goods, services, facilities, privileges, advantages, and
accommodations of a place of public accommodation by Defendant without
due process and in reckless violation of the provisions of the ADA; because of
their disability preventing them from wearing a mask to enter the Social
Security Administration Hearing Suite as claimed in their policies.

33.Plaintiffs attempted to receive services from the Social Security Administration
and are individuals with a disability under the “ADA”.

34. Despite being placed on notice that Plaintiffs are exempt from wearing a mask
based upon their medical condition/disability, Defendant refused services to
Plaintiffs and physically prevented them from entering the Social Security
Administration Hearing Suite; despite Defendant accommodating other
customers with medical conditions and disabilities — as it states on its website.
This despicable conduct constitutes intentional discrimination.

35. Defendant’s actions were and are in violation of the “ADA” and as a result of
its omissions Plaintiffs are entitled to damages. A Plaintiff may only need to
establish that a public agency had knowledge that individuals with disabilities
were being denied equal access/use of a public service or program. This bar of

"deliberate indifference" means that a party need not show actual knowledge of

- 18 -

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 19 of 31

the alleged discriminatory acts in order to recover money damages. Rather, the
party merely needs to show that the public agency had "some form of notice...
and the opportunity to conform to statutory dictates. .. "City of Canton v.
Harris 489 U.S. 378, 389 (1988). As previously indicated herein Plaintiffs
repeatedly put the Social Security Administration on notice of the “ADA”
violations and their need to be accommodated, but to no avail.

36.Defendant’s actions were and are in violation of the “ADA” and as a result of
its omissions Plaintiffs suffered severe emotional distress, severe anxiety,
mental anguish, inconvenience, further loss of enjoyment of life, which entitles
them to damages.

37.To recover money damages under Title II of the ADA, a Plaintiff must prove
intentional discrimination on the part of the defendant under a “deliberate
indifference” standard. Duvall v. Cty. of Kitsap, supra, 260 F.3d at 1138.
“Deliberate indifference requires both knowledge that a harm to a federally
protected right is substantially likely, and a failure to act upon that the
likelihood.” Id. at 1139. Throughout the Complaint Plaintiffs show deliberate
indifference of the Social Security Administration being put on notice as to an
ADA accommodation, and failed to act upon said accommodation. As a result
Plaintiffs suffered and continue to suffer severe anxiety, sévere emotion distress
mental anguish, and enjoyment of life. -

WHEREFORE, Plaintiff's demands relief as set forth below.

SECOND CAUSE OF ACTION
(Title III of the Americans with Disabilities Act 42 U.S.C. § 12181)

38.Plaintiffs incorporates the allegations contained in the foregoing paragraphs as
though fully set forth herein in their entirety.
39.Title II of the Americans with Disabilities Act (the "ADA"), 42 U.S.C. § 12181

, et seq., prohibits discrimination against individuals “on the basis of disability

-19-

VERIFIED COMPLAINT FOR DAMAGES

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Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 20 of 31

in the full and equal enjoyment of the goods, services, facilities, privileges,
advantages, or accommodations of any place of public accommodation by any
person who owns, leases (or leases to), or operates a place of public
accommodation." 42 U.S.C. § 12182(a). Defendant employees known as “Silva’
“Yasutomi”, along with its contractor “Garcia” violated the rights of Plaintiffs
because of their disability to full and equal enjoyment of the goods, services,
facilities, privileges, advantages, and accommodations by denying full

and equal access to Social Security Administration Hearing Suite.

40. The Social Security Administration Hearing Suite constitutes a “public place”

where the general public is invited subject only to the conditions and limitations
established by law, or state or federal regulations, and applicable alike to all
persons. Yet, Defendants failed to accommodate Plaintiff's disability.
The actions of Defendant were and are in violation of 42 U.S.C. § 12181, et seq.
Discrimination includes a failure to make reasonable modifications ... unless
the entity can demonstrate that making such modifications would
fundamentally alter the nature of such ... facilities...or accommodations.
42 U.S.C. § 12181 (b)(2)(A)(ii). Plaintiffs demanded a reasonable accom-
modation in accordance with “CDC Guidelines” and the alleged “Executive
Order” as to their exemption from wearing a mask. Defendants were made
aware of Plaintiffs exemption status prior to Mrs. McKenzie hearing. Plaintiffs
were exercising their right to appear in person and to be reasonably accom-
modated. Because of Plaintiffs disability being directly related to mis-
representation that traumatized them. Alternative, methods as far as by phone
and via video conference were impossible for Plaintiffs to accept on the basis
of the uniqueness of their disability, which makes it difficult for them to com-

prehend when conducting business by phone or via video conference.

41.Additionally, discrimination also includes a failure to remove architectural

~20 -

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 21 of 31

barriers in existing facilities where such removal is readily achievable, or where
removal of a barrier is not readily achievable, a failure to make such facilities...
or accommodations available through alternative methods, if such methods are
readily achievable. One can agree that it was certainly achievable for the Social
Security Administration to provide alternative methods in accordance with
“CDC Guidelines” such as: social distancing, or utilizing a plexi glass during
Mrs. McKenzie’s hearing, but it refused to do so, because the aforementioned
employees and the Social Security Administration’s goal was solely for the
purposes to discriminate, harass, and retaliate against Plaintiffs for filing a
complaint against “Mr. Silva”. (42 U.S.C.§ 12181 (b)2)(A)Gv) and 42 U.S.C. §
12181 (b)(2)(A)(v)).
42.Furthermore, a facility or part of a facility that has been altered by an
establishment in a manner that affects or could affect the usability of the facility
discrimination includes, “a failure to make alterations in such a manner that, to
the maximum extent feasible, the altered portions of the facility are readily
accessible to and usable by individuals with disabilities. A “place of public
accommodation” is a facility operated by a private entity, whose
operations affect commerce; (6) or other service establishment”. Under
California Law the Social Security Administration must accommodate
individuals with medical conditions and disabilities full and equal access to its
services, which prohibit discrimination against people who have medical
conditions and disabilities.
43. Defendant contends that it may lawfully deny people with medical conditions
and disabilities full and equal access to the Social Security Administration
Buildings and Hearing Suites. Defendant’s actions were and are in violation of
the “ADA” and as a result of its omissions Plaintiffs suffered severe emotional

distress, severe anxiety, mental anguish, inconvenience, further loss of

-21-

VERIFIED COMPLAINT FOR DAMAGES

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Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 22 of 31

enjoyment of life, which entitles them to damages.

THIRD CAUSE OF ACTION
(Retaliation Claim under Title IV)

44.Plaintiffs incorporates the allegations contained in the foregoing paragraphs as
though fully set forth herein in their entirety.

45,.On March 28, 2022, Plaintiff filed a complaint with Office of Hearing
Operations Unfair Treatment against the person known as “Mr. Silva” for
refusing to send her official correspondences and indicating to him that the
law does not allow her to comply with such. The complaint was acknowledged
by Executive Human Resources and was presumably addressed with “Mr. Silva.
Because of Plaintiff's involvement in a protective activity “Mr. Silva”,

“Mr. Yastomi”, and “Mr. Garcia” subjected Plaintiffs to an adverse action by
denying them their right to attend Mrs. McKenzie’s Disability Determination
Hearing, and refused to accommodate them for having the inability to wear a

mask because of such disability.

46. As previously mentioned in the complaint because Plaintiffs demanded an
“ADA” accommodation for having the inability to wear a mask because of their
disability. The persons known as “Mr. Silva”, “Mr. Yasutomi, and “Mr. Garcia”
retaliated against Plaintiffs by unlawfully denying them entry into the Social
Security Hearing Suite. As previously indicated, Plaintiffs also filed several
protected complaints prior to Mrs. McKenzie’s hearing, but to no avail.

47.Defendants engaged in wrongful despicable conduct through unlawful means.
The persons known as “Mr. Garcia” and “Mr. Yasutomi” indicated that they
were following the alleged “Executive Order”; which refers to “CDC
Guidelines”. Defendants failed to honor medical exemptions; and denied
Plaintiffs their lawful right to attend Mrs. McKenzie’s benefits determination

hearing in person without a legal basis.

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VERIFIED COMPLAINT FOR DAMAGES

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Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 23 of 31

48. Title 42 U.S.C. § 12203(a) provides that no person shall discriminate against

any individual because such individual has opposed any act or practice made
unlawful by the chapter or because such individual made a charge, testified,
assisted, or participated in any manner in an investigation, proceeding, or
hearing under the chapter. Section 12203(b) provides that it shall be unlawful to
coerce, intimidate, threaten, or interfere with any individual in the exercise or
enjoyment of, or on account of his or her having exercised or enjoyed any right
granted or protected by the chapter, or on account of his or her having aided or
encouraged any other individual in the exercise or enjoyment of any right
granted or protected by the chapter. Section 12203(c) states that the remedies
and procedures available under sections 12117, 12133, and 121887 of the title
shall be available to aggrieved persons for violations of subsections (a) and (b)
of the section with respect to subchapter I, subchapter II, and subchapter II of
the chapter, respectively (citing Brown v. City of Tucson, 336 F 3d 1181,
1186-87 (9 Cir. 2003) (outlining the elements of a prima facie case of ADA

retaliation under a burden shifting analysis)). Pursuing one’s rights under the

ADA constitutes protected activity. Pardi v. Kaiser Foundation Hospitals, 389

F.3d 840, 850 (9 Cir. 2004). In the context of the employment cases, an adverse
action is any action reasonably likely to deter employees from engaging in

protected activity. Pardi v. Kaiser Foundation Hospitals, 389 F.3d at 850.

Requesting a reasonable accommodation is a protected activity.
See, Head v. Glacier Northwest Inc., 413 F.3d 1053, 1066 (9 Cir. 2005). It has

been held that complaining in good faith of disparate treatment, failure to
accommodate a Plaintiff’s disability or of retaliatory conduct that could
constitute discrimination under the ADA is a protected activity, because the
statute prohibits discrimination due to an individual’s opposition to any conduct

or practice made unlawful, or due to one’s having made a charge. Angelone v.

-23-

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 24 of 31

Seyfarth Shaw, LLP, 2007 WL 1033458, *12 (E.D.Cal. April 3, 2007).

49.A close temporal connection between the protected activity and the adverse

action “can indeed support an inference of causation.” Woodruff, 287 F.3d at
529, because the continuing series of back and forth protected activities and’
adverse actions over a period of time is sufficient to allege a retaliation claim.
Weixel, 287 F.3d at 149. As a result of said omissions Plaintiffs were harmed
and Defendants wrongful despicable conduct was a substantial factor in causing
Plaintiff's harm. Plaintiffs have suffered and continue to suffer from severe
emotional distress, severe anxiety, severe mental anguish.
Defendant’s negligent & despicable conduct was malicious, oppressive, and
fraudulent warranting punitive damages.
RELIEF DEMANDED
50.Title II of the Americans with Disabilities Act (the "ADA"), 42 U.S.C. § 12132
51.Compensatory pain & suffering damages for violation of Title III of the
Americans with Disability Act (the "ADA"), 42 U.S.C. § 12181 in the amount
of $200,000.00 or to be determined at proof of trial;

52. Compensatory damages in the amount of $250,000.00 or to be determined by
proof at trial.

53. Punitive Damages in the amount of $200,000.00 to be determined by proof at
trial.

54.Plaintiff’s reasonable fees, expenses, and costs of suit as provided for by law,
in the amount of $10,000.00 or an amount to be determined by proof at trial;

55. Such other and further relief as the Court deems just and proper.

I declare under penalty of perjury under the laws of the United States of America and

State of California that the forgoing is true and correct.

-24-

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 25 of 31

Date: November 16, 2023 Respectfully submitted,

By: cS

Adamina McKenzie
Pro Per

By: fT

ElliotMeK enzie

In Pro Per

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VERIFIED COMPLAINT FOR DAMAGES

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Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 26 of 31

VERIFIED COMPLAINT
I, Adamina McKenzie and Elliott McKenzie; are citizens of the United States
and a resident of California hereby declares under penalty of perjury pursuant to
28 U.S.C §1746 that the foregoing is true and correct to the best of my knowledge.
Executed this 16™ day of November 2023.

Bo
Adamina McKenzie
In Pro Per

By: Gs

Elliott McKenzie
In Pro Per

-26 -

VERIFIED COMPLAINT FOR DAMAGES

Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 27 of 31

EXHIBIT A

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Case 1:23-cv-01620-CDB ee seed, led 11/17/23 Page 28 of 31

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SOCIAL SECURITY

Office of the General Counsel
Office of General Law

October 4, 2022

SENT VIA CERTIFIED MAIL—
RETURN RECEIPT REQUESTED &
FIRST CLASS MAIL

Adamina McKenzie
700 E. Birch Street, #762
Brea, CA 92822

Re: Administrative Tort Claim of Adamina McKenzie
Date of Incident: May 25, 2022
Date Claim Filed: June 28, 2022
Amount of Claim: $300,000.00

Dear Ms. McKenzie:

This office reviewed your claim, received: Tune 28, 2022, for: intentional interference: with
_ .petspéctive economic advantage, ‘negligent interference with perspective economic ¢ advantage, .

- and violations of the California Unruh Act and the California Disabled Person Act. You allege

that on May 25, 2022, you were “wrongfully and unlawfully” denied “access to the Social .

Security Hearing Suites” located at 605 N. Arrowhead Ave., San Bernadino, California “for not

having the ability to wear a mask because of” a “disability/medical condition.” Asaresult, you ~
allege that you suffered “severe emotional distress, severe anxiety, severe mental anguish, loss of
benefits and damages.” You request $300,000.00 in damages.

The United States incurs liability under the Fedetal Tort Claims Act when the injury alleged
results from a negligent act or omission on the part of an employee of the United States acting
within the scope of his or her employment. In this case, you have provided no evidence and we
find no evidence that a negligent act or omission of a federal employee acting within the scope of

-his or her employment resulted in your injury. Accordingly, we deny your claim.

You may appeal this determination by filing suit in the appropriate United States District Court

- within six (6) months of the date of this letter.

Sincerely,

/s/ Russell Cohen

Russell Cohen

Supervisory Attorney

Office of General Law, Division 1

6401 SECURITY BLVD., ALTMBYER, ROOM 617, BALTIMORE, MD 21235
Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 29 of 31

EXHIBIT B

Case 1:23-cv-01620-CDB Document decFiled 11/17/23 Page 30 of 31

SOCIAL SECURITY

Office of the General Counsel
Office of General Law

May 9, 2023

SENT VIA CERTIFIED MAIL—
RETURN RECEIPT REQUESTED &

_ FIRST CLASS MAIL

Elliott McKenzie
700 E. Birch Street, #762
Brea, CA 92822

Re: Administrative Tort Claim of Elliott McKenzie
Date of Incident: October 5, 2022
Date Claim Filed: February 9, 2023
Amount of Claim: $300,000.00

Dear Mr. McKenzie:

This office reviewed your claim, received February 9, 2023, for negligence, professional
negligence, negligent infliction of emotional distress (NIED), and violations of the California
Unruh Act and the California Disabled Person Act. You allege that on October 5, 2022, you
were “refused service and denied an ADA accommodation for not having the ability to wear a
mask due to [your] medical condition/disability i in violation of the law and ‘CDC’ guidelines and
‘Executive Order” at the Social Security office located at 605 N. Arrowhead Ave., San
Bernadino, California. You request $300,000.00 in damages.

The United States incurs liability under the Federal Tort Claims Act when the injury alleged
results from a negligent act or omission on the part of an employee of the United States acting
within the scope of his or her employment. In this case, you have provided no evidence and we
find no evidence that a negligent act or omission of a federal employee acting within the scope of
his or her employment resulted in your injury. Accordingly, we deny your claim.

You may appeal this determination by filing suit in the appropriate United States District Court
within six (6) months of the date of this letter.

Sincerely,

/s/ Russell Cohen

Russell Cohen

Supervisory Attorney

Office of General Law, Division 1

6401 SECURITY BLVD., ALTMEYER, ROOM 617, BALTIMORE, MD 21235
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Case 1:23-cv-01620-CDB Document1 Filed 11/17/23 Page 31 of 31

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